   4:01-cr-03087-RGK       Doc # 184     Filed: 05/09/05     Page 1 of 1 - Page ID # 140




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )            4:01CR3087-1
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )            ORDER
RAY REHA,                                     )
                                              )
                     Defendant.               )

       On the court’s own motion,

       IT IS ORDERED that:

       (1)    The hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 178) has been reset before the undersigned United States district judge at
1:30 p.m., Friday, May 13, 2005, in Courtroom No. 1, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (2)  At the request of the defendant through his counsel, and without objection by
the government, the defendant will participate in the hearing by telephone;

       (3)    The Marshal is directed not to return the defendant to the district; and

       (4)    The defendant is held to have waived his right to be present.

       DATED this 9th day of May, 2005.

                                                  BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
